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     Attorneys for Plaintiff,
5    STEPHANIE VILLALPANDO
6                    IN THE UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
7                              EASTERN DIVISION
8

9    STEPHANIE VILLALPANDO,                    ) Case No.: 2:17-cv-03902-VAP-SK
                                               )
10                                             )
                  Plaintiff;                   ) NOTICE OF SETTLEMENT
11                                             )
           v.                                  )
12                                             )
                                               )
13
     CAPITAL ONE, NATIONAL                     )
     ASSOCIATION;                              )
14                                             )
                                               )
15
                  Defendant.                   )
                                               )
16                                             )
                                               )
17

18
           NOW COMES Plaintiff, STEPHANIE VILLALPANDO, through attorneys,
19
     WESTGATE LAW, and hereby notifies this Court that a settlement of the present
20
     matter has been reached and is in the process of finalizing settlement, which
21
     Plaintiffs anticipate will be finalized within the next sixty (60) days.
22
           Plaintiff therefore respectfully requests this Honorable Court vacate all dates
23
     currently scheduled for the present matter.
24

25




                                      NOTICE OF SETTLEMENT
                                               -1-
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1                                           RESPECTFULLY SUBMITTED,
2
      DATED: November 8, 2017                WESTGATE LAW
3

4                                   By:/s/ Matthew A. Rosenthal
5                                          Matthew A. Rosenthal
                                           Attorney for Plaintiff
6

7

8

9

10                              CERTIFICATE OF SERVICE

11         I hereby certify that on November 8, 2017, I electronically filed the foregoing

12   with the Clerk of the Court for the United Stated District Court-Central District of

13   California by using the appellate CM/ECF system, which provided notice of such

14   filing to the following:

15
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21
           Attorneys for Defendants
22         CAPITAL ONE BANK (USA), N.A.
           and CAPITAL ONE, N.A.
23

24
                                   By:/s/ Matthew A. Rosenthal
                                          Matthew A. Rosenthal
25




                                    NOTICE OF SETTLEMENT
                                             -2-
